                           Case 2:19-cv-00781-DAK                                                             Document 1                                   Filed 10/17/19                                    PageID.1                             Page 1 of 1
 JS 44 (Rev. 08/18)                                                                                        CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor suppkment the filing and service ofpleadmgs or other papers as required by law, except as
provided bv local rules of court. This fonn, approved by the Judicial Conference of the United States m September 1974, is required for the use of the Clerk of Court for the
purpose of imtiating the crvrl docket sheet. c%'h JNSIHl l('JIONS ON NFXI l'AGh OJ, TlllS FORM.)

 I. (a) PLAINTIFFS
                                                                                                                                                           DBW,\'Wf.i;)o~HUA G. JAMES, BRUCE FELT, FRASER
 JARRETT PATTON, Individually and on Behalf of All Others Similarly                                                                                        BULLOCK, MATTHEW R. COHLER, DANA EVAN, MARK
 Situated,                                                                                                                                                 GORENBERG, NEHAL RAJ, and GLENN SOLOMON,
   (b) County of Residence of First Listed Plaintiff Dallas____________________ _                                                                             County of Residence of First Listed Defendant
                                                (f'.X( '/:Pl IN I '.S i'LAINlJl·F CASF5)                                                                                                               (IN U.S. /'IA/NJ ll·F CAS!:S ONJ.r1
                                                                                                                                                              NOTE:           IN LAND CONDEMNATTON CASES, USE THE LOCATION OF
                                                                                                                                                                              THE TRACT OFT ,i\ND TNVOl .VFD.


      ( C) Attorneys (Firm .l\/ame, Address, and Telephone l\Tumhcr)                                                                                           i\ttorneys lf{K11own)

 David W. Scofield, Peters I Scofield, PC, 7430 Creek Road, Suite 303,
 Sandy UT 84093, 801-858-3402, dws@psplawyers.com

 II. BASIS OF JURISDICTION (1'/ucea11 "X" mOne /!ox011/y)                                                                                  III. CITIZENSHIP OF PRINCIPAL PARTIES (l'iuce an "x·· 111 One /!ox/or /'/mn/1//
                                                                                                                                                        tFor Dn 1ersity Cases On(i)                                                                   and (hN Ho.Yjor /)<jl ndm!f)   1




0 I        U.S. Government                              ?$. 3     Federnl Question                                                                                                 PTF                     DEF                                                                PTF            DEF
               Plamttff                                               (l r.,)'. Gnvernmenl Not a l}1Hty)                                        Citizen of This State                         Ol           0            Incorporated or Prmc1pal Place                           n 4         :J 4
                                                                                                                                                                                                                          of Business In This State

n 2 u S. G\lVl.!fUl11Cnt                                !I 4       Diversity                                                                    Citizen of Another State                      ,, 2         n      2     Incorporated and Prinl.'1pal Place                       II 5        ,,
               De fondant                                             (lnd1cure <'ifrzensh1p r~f Parties m flem Ill)                                                                                                       of Business In Another State

                                                                                                                                                Citizen or Sub.1cct of a                                   n      3     Foreign Nation                                           l""J 6
                                                                                                                                                    Foreign Countrv
 IV. NATURE OF SUIT 11'/.,ce an "X" in one Box Ont;)                                                                                                                                                        Click here for. Nature ttC Sult Cock' D(..'l\i.:nnuon~;
                CONTRACT                                                                    TORTS                                                   FORFEITURE/PENAL TY                                      BANKRUPTCY                     OTHER STATUTES                                              I
 0    l l 0 Insurance                                      PERSONAL IN.JURY                          PERSONAL IN.Jl!RY                          0625 Dmg Related Seizure                           0422 Appeal 28 L'SC 158                           0 375 False Clmms Acr
 CJ   120 Manne                                       0 310 Airplane                               0 365 Personal lllJUry •                                                   of Property 21USC881      n 423 Withdrawal                                           Cl 376 Qm Tam Cl! USC
 "J   130 Miller Ac!                                        0 315 Airplane Product                                              ProJucJ Liability                    Cl 690 Other                                   28 USC 157                                                3729(a)l
 '"1  140 l\egottable [nstrnment                                          Liability                               CJ 367 Health Carei                                                                                                                              Cl 400 State Reapportionment
 0    150 Recovery of Overpayment                           0 320 Assault, Libel &                                             Pharmaceutical                                                          t--= vu=•:::E=R:::T:::\7' ~Rl:-:-G=u:-:T:;:S~--1 0 4 l 0 Ant11rus1
            & Enforcement of Judgment                                     Slander                                              Personal Injury                                                          0 820 Copyrights                                           0 430 Hanks an<l Banh.mg
 :'1  151 Medicare Act                                      C1 330 Federal Employer~'                                          Product Liability                                                        l'l 830 Patent                                             l'l ·150 Commerce
 l1   l 52 Recovery of Defaulted                                          Liability                               !I ;!68 Asbestos Persona!                                                             0 835 Patent - Abbreviated                                 n 460 Deportation
            Student Loans                                   CJ 340 Marine                                                       lnjury Product                                                                     New Drug Application                            n 470 Racketeer Influen..:.,cd and
            (Excludes VeteransJ                             0 345 Marine Product                                                Liability                                                               C1 840 Trademark                                                     Corrupt Organi7ations
 0    153 Recovery of Overpayment                                         Liability                                  PERSONAL PROPERTY t===:J::i:fili!i:====t::]~,~·li:Ju-.[i<Y;:~.·~:;ll:iu:[l:==:10 480 Consumer Credit
            ofVeteran·s Benefits                            0 3.50 Motor Vehicle                                  0 370 Other Fraud                                  0 710 Fair Labor Standards         0 861 H!A (1395ff)                                         n 485 Telephone Co11sume1
  I   160 Stockholders· Suits                               n 355 Motor Vehicle                                   lJ 371 Truth m Lending                                      Act                       1'1 862 Black Lung (923)                                              Protection Act
 Cl   I 90 Other Contract                                               Product Liability                         0 380 Other Personal                               0 720 T.abor/Management            0 863 DTWC/DlWW ( 405(g))                                  Cl 490 Cahle/Sat TV
 0    l 95 Contract Product Liability                       0 3(i0 Other Personal                                              Property Damage                                Relations                 rJ 864 SSH> Tale XVI                                       IX 850 Sccunties/CornmoJ1t1es/
 0    196 Franchise                                                      lnJury                                   o· 385 Property Damage                             D 740 Railway Labor Act            n 865 RS! (405(g)J                                                    Exchange
                                                            0 362 Personal Injury -                                            Product Liability                     0 751 Family and M<dical                                                                      0 8<>0 Orher Starmory Actions
                                                                         Medical Malpractice                                                                                  Leave Act                1 - - - - - - - - - - - - - 1 1 ' 1 89 l Agncultural Acts
                                                                                                                                    o...
.__ _,R:.:.E=A"'L'-P,_R=O;.:P_,E"',R:.:.T.:..:.Y---+--'C"I'-'V-'I"'L"R'-'l"'IG!:.:.'H"'-'T..:.S'-~-1....:.P.=.R::.:I"S"'O"'N"''E"'R"'-'P...:E'-'T'-'m"""'·.. N.-S..._.ll 790 Other Labor Litigarion    .__.F..E::.:D"E"',R=A:.:.l._,T""A'-"'X'-S""l'-1'-IT'-S"----11'1 893 Environmental Matters
  '.:"I 210 Land Condemnation                               0 440 Other Civil Rights                                    Habeas Corpus:                               0 791 Employee Retirement     n        870 Taxes (LT S Plmntiff                               i':'l 895 Fri!'edom of lnformatrnn
 iJ 220 Fort:do.;:;urc                                      n 441 Votmg                                           0 463 Alten Detainee                                       Income Securit) Act                    nr Dcfondant)                                             ,\ct
  "1 230 Rent I ,t:ase & EJe(,:tment                        0 442 Employment                                      0 S I 0 Motions to Vacate                                                             C1 87 I IRS-Tlurd Pany                                     n 896 Arb1trat1Dn
  I 240 Torts to Land                                       0 441 Housmg/                                                      Sentence                                                                             26 USC 7609                      n                   899 ,\dmmistratlve Procedure
 n 245 Tort Product Liability                                            Accommodatious                           0 510 General                                                                                                                                              Act/Rcv1c\v 01 Appeal of
 :J 200 All Otht:r Real Property                            n 445 Amer \vlDisabtlaiCs - CJ 535 Death Penalty                                                                  lMl\.11GRATION                                                                                 Agency Dec1sw11
                                                                        Employment                                      Other:                                       0 4(,2 Naturalization Application                                                             D 050 Constitutionality of
                                                            CJ 446 Amer w/Di<>ahilities - Cl 540 ~vfandarnus & Other                                                 J -1.65 Other fmmig:rat1on                                                                               State Statute<;
                                                                        Other                                     CJ 550 Civil Rights                                        Actions
                                                      n          448 Education                                    n 555 Prison Condition
                                                                                                                  0 560 Civ1 I Detainee -
                                                                                                                               Conditions of
                                                                                                                               Confinement

V. ORIGIN (/'lacea11 "X"mOne/3oxOn/y)
l1'!: 1 Original                      D 2 Removed from                              D 3          Remanded from                         D 4 Reinstated or                   D         Transferred from                   D 6 Multidislrict                           D 8 Mullidistricl
           Proceeding                     State Court                                            Appellate Court                           Reopened                                  Another District                       Litigation -                                Litigation -
                                                                                                                                                                                     (specl}j~                              Transfer                                    Direct Frie
                            Cite the US. Crvil Statute under which vou arc filmg (Do not dtejurisdil'tional statutes unless diversity)
                             15 U.S.C. §§ 77k and 770, 15 U.S.C. §§ 78'(b) and 78t(a)) and 17 C.F.R. § 240. 1Ob-5
 VI.      CA USE OF ACTION 1-B-ri-ct-.d-cs-cr-ip_,t1""'on'-o-f-ca-us-e---'-----"""--'"'--'----'-'"-------"--------------
                                                              Misstatements and omission in offering statement, securities fraud, control person liability
 VII. REQUESTED IN     ~ CHECK IF THIS JS A CLASS ACTION                                                                                             DEMANDS                                                       C:l lfcCK YES only 1f demanded in compla111t
      COMPLAINT:          UNDER RULE 23, F RCv P                                                                                                                                                                   JURY DEMAND:             Jio( Yes   1'1No
 VIII. RELATED CASE(S)
                        (See llMlrudmns):
       IF ANY                             JUDGE                                                                                                                                                         DOCKET NUMBER
]).\TE                                                                                                  SIGN.'\TURE OF ATTORNEY OF RF.CORD
 10/17/2019                                                                                           Isl David W. Scofield
 FOR OFFICE USE ONLY
                                                                                                                                                                                   Case: 2:19-cv-00781
      RECEIPT#                                  AMOUNT                                                        APPL YING IFP
                                                                                                                                                                                   Assigned To : Kimball, Dale A.
                                                                                                                                                                                   Assign. Date: 10/17/2019
                                                                                                                                                                                   Description: Patton v. Domo, et al
